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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :                       Case No. 1:21-cr-00235 (RC)
     v.                       :
                              :
RICHARD FRANKLIN BARNARD and, :
JEFFREY SHANE WITCHER         :
                              :
          Defendants.         :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Richard Franklin Barnard to thirty days home detention, 36 months’ probation, 60

hours of community service and $500 in restitution.

   I.      Introduction

        The defendant, Richard Franklin Barnard (“Barnard”), and his close friend and co-

defendant Jeffrey Shane Witcher (“Witcher”) participated in the January 6, 2021 attack on the

United States Capitol—a violent attack that forced an interruption of the certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred law enforcement officers, and resulted in more than one

million dollars’ of property damage.

        Barnard pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading,

Demonstrating, or Picketing in the Capitol Building. As explained herein, a sentence of thirty

days’ home confinement is appropriate in this case because: (1) he entered the U.S. Capitol

building with a large crowd of rioters; (2) he was aware of the fact that he was not authorized to

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be inside the building, evidenced by witnessing other rioters forcibly entering the building, despite

law enforcement efforts to keep them out; (3) he penetrated into the Crypt portion of the U.S.

Capitol, where violence between rioters and law enforcement was occurring around him, and; (4)

he admitted to deleting evidence from his phone after being notified by his wife that individuals

had died during the riots.         To be clear, in coming to this sentencing recommendation the

government considered several mitigating factors as well, to include the defendant’s cooperation

with law enforcement 1, his entering into a plea agreement at the first available opportunity, and

his coming to the aid of a law enforcement officer inside the U.S. Capitol building when the scene

turned violent inside the Crypt.

        Even if Barnard didn’t personally engage in violence or property destruction during the

riot, he was part of a mob of rioters who unlawfully entered the U.S. Capitol and made their way

into the Crypt, where a line of officers was quickly outnumbered by the crowd. Not surprisingly,

this chaotic scene in the Crypt quickly turned violent, putting law enforcement officers in danger

while staring down a large and angry crowd of rioters.

        The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for

his actions alongside so many others, the riot likely would have failed. See United States v.

Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan). Here, the defendant’s participation in a riot that

actually succeeded in halting the Congressional certification combined with his actions inside the


1
  The defendant cooperated with law enforcement from the beginning of this investigation, to include providing
a voluntary and fulsome interview on January 25, 2021.

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building that fueled an already contentious environment, renders a term of home detention both

necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 21 (Statement of Offense), at 1-7. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

               Richard Barnard’s Role in the January 6, 2021 Attack on the Capitol

         On January 5, 2021, Barnard and Witcher traveled to Washington, D.C. from their homes

in Texas to attend the “Stop the Steal” rally and stayed at the Moxy hotel in the District that

evening. The next day (January 6th), they attended the “Stop the Steal Rally” and then joined the

large crowds of people walking to the Capitol. At the time the U.S. Capitol building was initially

breached, Barnard was approximately 300 yards away from the building. Shortly thereafter, at

approximately 2:19 p.m., Barnard and Witcher joined a large crowd of rioters making entry into

the U.S. Capitol near the Rotunda portion of the building, ultimately making their way to the Crypt

(image below).




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                               Figure 1 Witcher (right) – Barnard (left) with timestamp
                                        Retrieved from Witcher’s Cellphone

        Once inside the building, Witcher began recording video. In one of these videos Witcher

stated “[. . .] I’m out here with my brother Richard Barnard [. . . ] let’s go! It’s our house (repeated)

Hey family, we did it. We came, and we did it.” A short time later violence erupted in the Crypt,

where Barnard and Witcher were at the time. Shortly after this both Witcher and Barnard came to

the aid of a U.S. Capitol Police Officer who was caught in the mob of rioters, which at this point



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had turned violent. Witcher and Barnard then moved towards an exit and exited the U.S. Capitol

building, spending roughly 15-20 minutes inside total.

                                  Richard Barnard’s Interview

       On January 25, 2021 Barnard was contacted by the FBI after Witcher provided his

contact information. Barnard agreed to come in and provide a voluntary interview that same day.

During the interview Barnard stated that he flew with Witcher to the District on January 5th.

The next day they attended then President Trump’s speech before moving to the U.S. Capitol

building. Barnard stated that when they arrived at the Capitol he believed there were already

people attempting to make forcible entry into the building. A short time later, Barnard stated he

and Witcher entered the building and entered a large Rotunda where they encountered multiple

law enforcement officers. Finally, Barnard stated that as the crowd began to push against the

crowd and turn violent, he and Witcher shielded the officers. They both then exited the Capitol

building. Barnard acknowledged during the interview that he had previously deleted photos and

videos from his phone. Barnard allowed law enforcement to access his phone, however no

relevant photos or videos were found.

                                The Charges and Plea Agreement

       On February 24, 2021, Richard Franklin Barnard was charged by complaint with violating

18 U.S.C. 1752 §§ (a)(1) and (2), 40 U.S.C. §§ 5104(e)(2)(D) and (G). On February 25, 2021, he

was arrested at his home in Texas. On March 19, 2021, Barnard was charged by four-count

indictment with 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On

October 20, 2021, he pleaded guilty to Count Five of the Indictment, charging him with a violation

of 40 U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or Picketing in the Capitol Building. By

plea agreement, Barnard agreed to pay $500 in restitution to the Department of the Treasury.



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   III.      Statutory Penalties

          The defendant now faces sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement, the defendant faces up to six months of imprisonment and a fine of

up to $5,000. The defendant must also pay restitution under the terms of his or her plea agreement.

See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not apply to it. 18 U.S.C.

§ 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is also guided by 18 U.S.C. § 3553(a), which

identifies the factors a court must consider in formulating the sentence. Some of those factors

include: the nature and circumstances of the offense, § 3553(a)(1); the history and characteristics

of the defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of home detention.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.




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       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As they entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades and heard the

throes of a mob. Depending on the timing and location of their approach, they also may have

observed extensive fighting with law enforcement officials and smelled chemical irritants in the

air. No rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated

sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had the defendant personally engaged in violence or destruction, he or she

would be facing additional charges and/or penalties associated with that conduct. The absence of

violent or destructive acts on the part of the defendant is therefore not a mitigating factor in

misdemeanor cases, nor does it meaningfully distinguish the defendant from most other

misdemeanor defendants.



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          Barnard entered the building, with a large group of rioters, at approximately 2:19 p.m.,

close in time to when the original breach of the building occurred and remained inside the building

for roughly 15-20 minutes. Although Barnard did not partake in the violence or destruction of

property that enabled rioters to breach the building, he was close enough to the initial breach that

he would have seen the forcible entry, and law enforcement’s attempts to prevent the rioters from

entering. Moreover, Barnard approached the building after acknowledging that he believed other

rioters were attempting to forcibly enter the building. Finally, Barnard acknowledged that he

deleted photos and/or videos from his phone the same day as the riots, after his wife notified him

that individuals had died during the riots.

          To be clear, Barnard did come to the aid of law enforcement when it appeared the rioters

inside the building were becoming violent. Additionally, Barnard was cooperative and forthright

with the FBI during this investigation, gave the FBI access to his phone, and expressed sincere

contrition during the plea hearing. Accordingly, the nature and the circumstances of this offense

establish the clear need for a sentence of home detention, as opposed to incarceration, in this

matter.

             B. The History and Characteristics of the Defendant

          As set forth in the PSR, Richard Barnard’s has no previous criminal convictions. PSR at

¶¶ 34. Barnard reported to the PSR writer that he enlisted in the U.S. Marine Corps Reserve and

was administratively discharged in 1994. It appears the defendant has maintained relatively

consistent employment and is currently employed.

          While Barnard’s military service is laudable, it renders his conduct on January 6 all the

more etroubling. His voluntary decision to storm a guarded government building is particularly

problematic in light of his former military service and training.



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            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 2 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes



2
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available           at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be

deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Richard Barnard’s actions on January 6th demonstrate a need for specific deterrence,

however the government believes that end can be achieved with a sentence of home confinement,



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rather than active incarceration. As stated above, the defendant’s actions on January 6th were

inexcusable, however the surrounding circumstances, to include the lack of physical violence or

destruction of property, the defendant’s cooperation during the investigation, and the defendant’s

early acceptance of responsibility, all assure the government that a sentence of home detention is

appropriate.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress. 3 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not necessarily become the default. 4 Indeed, the government invites


3
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.
4
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation in United States v. Anna
Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas
K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no
unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead
guilty under a “fast-track” program and those who do not given the “benefits gained by the
government when defendants plead guilty early in criminal proceedings”) (citation omitted).


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the Court to join Judge Lamberth’s admonition that “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke,

1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I

don't want to create the impression that probation is the automatic outcome here, because it's not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).

       The government and the sentencing courts have already begun to make meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. Those who trespassed, but engaged in less serious aggravating factors,

deserve a sentence more in line with minor incarceration or home detention.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long she remained inside, the nature of any statements she made (on social media or

otherwise), whether she destroyed evidence of his participation in the breach, etc.—help explain

the differing recommendations and sentences.         And as that discussion illustrates, avoiding

unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse or

cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir.

2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike defendant,

pleaded guilty and cooperated with the government).



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       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Sentencing courts are permitted to consider sentences imposed on co-defendants in

assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C. Cir. 2016); United

States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras, 483 F.3d 103,

114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with significant

distinguishing features, including the historic assault on the seat of legislative branch of federal

government, the vast size of the mob, the goal of impeding if not preventing the peaceful transfer

of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       As the number of sentences in the Capitol breach misdemeanor cases increase and the pool

of comparators grows, the effect on sentences of obviously aggravating considerations should



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become more apparent. The same is true for obviously mitigating factors, such as a defendant’s

efforts to prevent assaults on police.

       To start, it is worth briefly discussing Barnard’s conduct balanced against that of his co-

defendant (Witcher). As discussed previously, Barnard and Witcher traveled together from Texas

in order to attend the “Stop the Steal” rally on January 6th. They then traveled together to the U.S.

Capitol, where Barnard acknowledged knowing that rioters were already attempting to forcibly

enter the building. Barnard and Witcher then entered the building together, ultimately entering the

Crypt portion of the U.S. Capitol. One notable distinction is Witcher’s conduct once inside the

building. As discussed above, Witcher is captured on video where he can be heard chanting with

the crowd and screaming at law enforcement, to include telling them not to be “traitors,”

contributing to the chaos and unrest unfolding inside the building. These actions are particularly

problematic when balanced against the fact that law enforcement was severely outnumbered, and

the mob of rioters were growing particularly agitated. Not surprisingly, violence erupted shortly

thereafter, putting several law enforcement officers in danger.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may also consider the sentence imposed on Thomas

Gallagher for reference, a case with similar facts. See United States v. Thomas Gallagher, 1:21-

CR-0041 (CJN). In that case, Gallagher pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G)

for Parading, Demonstrating, or Picketing in a Capitol Building, the government requested a

sentence of 1 month home detention, three years’ probation, sixty hours of community service,

and $500 restitution, and he was sentenced to 24 months’ probation, 60 hours community service,

$500 restitution




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        In that case Gallagher traveled to Washington D.C. and attended the rally at the ellipse.

Gallagher then arrived at the Capitol, entered the building, and remained inside the building for

approximately ten minutes. Finally, Gallagher was confronted several times by law enforcement

inside the building but was not alleged to have committed any violence or destroyed any property.

Moreover, Gallagher was seen attempting to calm other rioters down who were growing

increasingly agitated towards law enforcement. These facts are similar to Barnard, who did

unlawfully enter the building, however, did not commit any violence, destroy any property, show

any animus towards law enforcement, and came to the aid of a law enforcement officer in danger

of being overrun by the crowd.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient



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sentence. Balancing these factors, the government recommends that this Court sentence Richard

Franklin Barnard to thirty days home detention, 36 months’ probation, 60 hours of community

service and $500 in restitution. Such a sentence protects the community, promotes respect for the

law, and deters future crime by imposing restrictions on his liberty as a consequence of his

behavior, while recognizing his early acceptance of responsibility.



                                             Respectfully submitted,

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Table 1: Cases in which the government recommended a probation sentence without home detention 1

    Defendant Name          Case Number                 Offense of Conviction            Government                        Sentence Imposed
                                                                                         Recommendation
    Morgan-Lloyd, Anna      1:21-CR-00164-RCL           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          36 months’ probation, 120
                                                                                         hours community service,          community service hours, $500
                                                                                         $500 restitution                  restitution
    Ehrke, Valerie          1:21-CR-00097-PLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          36 months’ probation, $500
                                                                                         hours community service,          restitution
                                                                                         $500 restitution
    Bissey, Donna           1:21-CR-00165-TSC           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          14 days incarceration, 60 hours
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Hiles, Jacob            1:21-CR-00155-ABJ           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 60          24 months’ probation, 60 hours
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Wangler, Douglas        1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          24 months’ probation, 60 hours of
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Harrison, Bruce         1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        48 months’ probation, 40          24 months’ probation, 60 hours of
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution


Table 2: Cases in which the government recommended a probation sentence with home detention
    Defendant Name          Case Number                 Offense of Conviction            Government                        Sentence Imposed
                                                                                         Recommendation



1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation
in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-
cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015)
(no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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    Bustle, Jessica     1:21-CR-00238-TFH     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       2 months of home detention, 24
                                                                          36 months’ probation, 40       months’ probation, 40 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Bustle, Joshua      1:21-CR-00238-TFH     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     1 month home detention, 24 months’
                                                                          months’ probation, 40          probation, 40 hours community
                                                                          hours community service,       service, $500 restitution
                                                                          $500 restitution
    Doyle, Danielle     1:21-CR-00324-TNM     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       2 months’ probation, $3,000 fine,
                                                                          36 months’ probation, 60       $500 restitution
                                                                          hours community service,
                                                                          $500 probation
    Bennett, Andrew     1:21-CR-00227-JEB     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       3 months of home detention,
                                                                          36 months’ probation, 60       24 months’ probation, 80 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Mazzocco, Matthew   1:21-CR-00054-TSC     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       45 days incarceration, 60 hours
                                                                          36 months’ probation, 60       community service 2, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Rosa, Eliel         1:21-CR-00068-TNM     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     12 months’ probation, 100 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Gallagher, Thomas   1:21-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     24 months’ probation, 60 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service, a
                                                                          fine, and $500 restitution
    Vinson, Thomas      1:21-CR-00355-RBW     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years’ probation, $5,000 fine, $500
                                                                          3 years’ probation, 60 hours   restitution, 120 hours community
                                                                          community service, $500        service
                                                                          restitution


2
 The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the sentence requires 60 hours of community
service, not 60 months.

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Dillon, Brittiany    1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)   3 months home detention,     2 months home detention, 3 years’
                                                                     36 months’ probation, 60     probation, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Sanders, Jonathan    1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, 60 hours
                                                                     36 months’ probation, 60     community service, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Fitchett, Cindy      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Sweet, Douglas       1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Cordon, Sean         1:21-CR-00269-TNM   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months’ probation, $4000 fine
                                                                     36 months’ probation, 60
                                                                     hours community service,
                                                                     $500 restitution
Wilkerson, John IV   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $2500 fine, 60
                                                                     36 months’ probation, 60     hours community service, $500
                                                                     hours community service,     restitution
                                                                     $500 restitution
Jones, Caleb         1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months home detention, 24
                                                                     36 months’ probation, 60     months’ probation, $500 restitution,
                                                                     hours community service,     100 hours community service
                                                                     $500 restitution
Brown, Terry         1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days home detention, 36   1 month home detention, 36 months’
                                                                     months’ probation, 60        probation, $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution
Wrigley, Andrew      1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     18 months’ probation, $2000 fine,
                                                                     36 months’ probation, 60     $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution

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Parks, Jennifer     1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, $500
                                                                    months’ probation, 60        restitution, 60 hours community
                                                                    hours community service,     service
                                                                    $500 restitution
Reimler, Nicholas   1:21-CR-00239-RDM   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                    36 months’ probation, 60     probation, 60 hours community
                                                                    hours community service,     service, $500 restitution
                                                                    $500 restitution
Miller, Brandon     1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     20 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Miller, Stephanie   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     14 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Hatley, Andrew      1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $500
                                                                    36 months’ probation, 60     restitution
                                                                    hours community service,
                                                                    $500 restitution
Pert, Rachael       1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     24 months’ probation, 100 hours
                                                                    24 months’ probation, 40     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Winn, Dana          1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     10 days incarceration (weekends), 12
                                                                    24 months’ probation, 40     months’ probation, 100 hours
                                                                    hours community service,     community service, $500 restitution
                                                                    $500 restitution
Wickersham, Gary    1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)   4 months home detention,     3 months home detention, 36
                                                                    36 months’ probation, 60     months’ probation, $2000 fine, $500
                                                                    hours community service,     restitution
                                                                    $500 restitution
Schwemmer, Esther   1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, 60 hours
                                                                    months’ probation, 60        community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution

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 Kelly, Kenneth         1:21-CR-00331-CKK       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,      2 months home detention, 12
                                                                             36 months’ probation, 60      months’ probation, 60 hours
                                                                             hours community service,      community service, $500 restitution
                                                                             $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant Name        Case Number             Offense of Conviction        Government                    Sentence Imposed
                                                                            Recommendation
 Curzio, Michael       1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    Not applicable                6 months incarceration (time served),
                                                                                                          $500 restitution
 Hodgkins, Paul        1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)       18 months incarceration       8 months incarceration, 24 months’
                                                                                                          supervised release, $2000 restitution
 Dresch, Karl          1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration        6 months incarceration (time served),
                                                                            (time served), $500           $500 restitution
                                                                            restitution
 Jancart, Derek        1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Rau, Erik             1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Hemenway, Edward      1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Reeder, Robert        1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration,       3 months incarceration, $500
                                                                            $500 restitution              restitution
 Bauer, Robert         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Smocks, Troy          1:21-CR-00198-TSC       18 U.S.C. § 875(c)           Low end of sentencing         14 months incarceration, 36 months
                                                                            guidelines as determined by   supervised release
                                                                            the court, 36 months
                                                                            supervised release
 Vinson, Lori          1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   5 years’ probation, $5,000 fine, $500
                                                                            restitution                   restitution, 120 hours community
                                                                                                          service
 Griffith, Jack        1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)    3 months incarceration,       90 days home detention, 36 months’
                                                                            $500 restitution              probation, $500 restitution


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Torrens, Eric        1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   2 weeks incarceration, $500   90 days home detention, 36 months’
                                                                     restitution                   probation, $500 restitution
Gruppo, Leonard      1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   90 days home detention, 24 months’
                                                                     restitution                   probation, $3,000 fine, $500
                                                                                                   restitution
Ryan, Jenna          1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $1000 fine,
                                                                     restitution                   $500 restitution
Croy, Glenn          1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   90 days home detention, 14 days
                                                                     restitution                   community correctional facility, 36
                                                                                                   months’ probation, $500 restitution
Stotts, Jordan       1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $500 restitution, 60 hours
                                                                                                   community service
Fairlamb, Scott      1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2),     44 months incarceration, 36   41 months incarceration, 36 months
                                         18 U.S.C. § 111(a)(1)       months’ supervised release,   supervised release, $2000 restitution
                                                                     $2000 fine
Camper, John         1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $500
                                                                     restitution                   restitution, 60 hours community
                                                                                                   service
Rukstales, Bradley   1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Cordon, Kevin        1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     12 months’ probation, 100 hours
                                                                     months supervised release,    community service, $4000 fine, $500
                                                                     $500 restitution              restitution
Chansley, Jacob      1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months incarceration, 36   41 months incarceration, 36 months
                                                                     months supervised release,    supervised release, $2000 restitution
                                                                     $2000 restitution
Mish, David          1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Lolos, John          1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                     restitution                   restitution
Scavo, Frank         1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                     restitution                   $500 restitution
Abual-Ragheb,        1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months’
Rasha                                                                restitution                   probation, 60 hours community
                                                                                                   service, $500 restitution

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Peterson, Russell     1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   30 days incarceration, $500
                                                                       restitution                   restitution
Simon, Mark           1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)    45 days incarceration, $500   35 days incarceration, $500
                                                                       restitution                   restitution
Ericson, Andrew       1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   20 days incarceration (consecutive
                                                                       restitution                   weekends), 24 months’ probation,
                                                                                                     $500 restitution
Pham, Tam Dinh        1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   45 days incarceration, $1000 fine,
                                                                       restitution                   $500 restitution
Nelson, Brandon       1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   24 months’ probation, $2500 fine,
                                                                       restitution                   $500 restitution, 50 hours
                                                                                                     community service
Markofski, Abram      1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   24 months’ probation, $1000 fine,
                                                                       restitution                   $500 restitution, 50 hours
                                                                                                     community service
Marquez, Felipe       1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)       4 months incarceration, 1     3 months home detention, 18
                                                                       year supervised release,      months’ probation, $500 restitution
                                                                       $500 restitution
Meredith, Cleveland   1:21-CR-00159-ABJ   18 U.S.C. § 875(c)           Midrange of 37-46 months      28 months incarceration, 36 months
                                                                       incarceration                 supervised release
Sorvisto, Jeremy      1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                       restitution                   restitution
Mariotto, Anthony     1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)    4 months incarceration, 36    36 months’ probation, 250 hours
                                                                       months’ probation, $500       community service, $5000 fine, $500
                                                                       restitution
Courtright, Gracyn    1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)       6 months incarceration, 12    1 month incarceration, 12 months’
                                                                       months’ supervised release,   supervised release, 60 hours
                                                                       60 hours community            community service, $500 restitution
                                                                       service, $500 restitution
Palmer, Robert        1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)   63 months incarceration, 36   63 months incarceration, 36 months
                                                                       months supervised release,    supervised release, $2000 restitution,
                                                                       $2000 restitution
Thompson, Devlin      1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)   48 months incarceration, 36   46 months incarceration, 36 months
                                                                       months supervised release,    supervised release, $2000 restitution
                                                                       $2000 restitution


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Edwards, Gary        1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, 24     12 months’ probation, $2500 fine,
                                                                     months’ probation, $500       200 hours of community service,
                                                                     restitution                   $500 restitution
Tutrow, Israel       1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   2 months home detention, 36
                                                                     restitution                   months’ probation, $500 restitution
Ridge IV, Leonard    1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)      45 days incarceration, $500   14 days consecutive incarceration,
                                                                     restitution                   $1000 fine, 1 year supervised
                                                                                                   release, 100 hours community
                                                                                                   service, $500 restitution
Perretta, Nicholas   1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Vukich, Mitchell     1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Spencer, Virginia    1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration, 36    90 days incarceration, $500
                                                                     months’ probation, $500       restitution
                                                                     restitution
Kostolsky, Jackson   1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days home detention, 36 months’
                                                                     restitution                   probation, $500 restitution
Rusyn, Michael       1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $2000 fine
Tryon, William       1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     50 days incarceration, 12 months
                                                                     months supervised release,    supervised release, $1000 fine, $500
                                                                     $500 restitution              restitution
Sells, Tanner        1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, 36     90 days home detention, 24 months’
                                                                     months’ probation, 60         probation, 50 hours community
                                                                     hours community service,      service, $1500 fine, $500 restitution
                                                                     $500 restitution
Walden, Jon          1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)   At least two weeks            30 days home detention, 36 months’
                                                                     incarceration, 60 hours       probation, 60 hours community
                                                                     community service, $500       service, $500 restitution
                                                                     restitution




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Wiedrich, Jacob      1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration, 36   3 months home detention, 36
                                                                     months’ probation, $500      months’ probation, 100 hours
                                                                     restitution                  community service, $500 restitution
Stepakoff, Michael   1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)   14 days incarceration        2 months home detention
                                                                                                  12 months probation; $500
                                                                                                  restitution; $742 fine
Scirica, Anthony     1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)   15 days incarceration; 4     15 days incarceration
                                                                     months’ home detention       $500 restitutio; $500 fine




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